                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

 UNITED STATES OF AMERICA,

                               Plaintiff,

        v.                                         Case No. 23-MJ-00035-JAM

 CHLOE M. DASILVA,

                               Defendant.

                        MOTION OF THE UNITED STATES FOR
                      CONTINUANCE OF A DETENTION HEARING

       Comes now the United States of America, by the United States Attorney for the Western

District of Missouri, and does hereby move the Court for its order granting a continuance of the

detention hearing as provided by Section 3142(f), Title 18, United States Code.

                                SUPPORTING SUGGESTIONS

       Title 18, United States Code, Section 3142(f) provides that the appropriate judicial officer

shall hold a hearing to determine whether any condition or combination of conditions set forth in

Section 3142(c) will reasonably assure the appearance of a defendant as required and the safety of

any other person and the community when the attorney for the government moves for a detention

hearing provided by said subsection, or upon the appropriate judicial officer's own motion, also as

provided by Section 3142(f).

       Subsection (f) of Section 3142 provides: "The hearing shall be held immediately upon the

person's first appearance before the judicial officer unless that person, or the attorney for the

government seeks a continuance. Except for good cause, a continuance on motion of the person

may not exceed five days, and a continuance on motion of the attorney for the government may

not exceed three days. During a continuance, the person shall be detained . . . ."




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       The United States desires the continuance to facilitate the acquisition of additional

information regarding the above defendant, to evaluate the said information, and to prepare for

the hearing.

                                                      Respectfully submitted,

                                                      Teresa A. Moore
                                                      United States Attorney

                                             By       /s/ Matthew A. Blackwood

                                                      Matthew A. Blackwood
                                                      Assistant United States Attorney

                                                      Charles Evans Whittaker Courthouse
                                                      400 East 9th Street, Fifth Floor
                                                      Kansas City, Missouri 64106
                                                      Telephone: (816) 426-3122




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was delivered on April 10,
2023, to the CM-ECF system of the United States District Court for the Western District of
Missouri, and a copy of the foregoing will be hand-delivered to the defendant at his first
appearance before a judicial officer.

                                                   /s/ Matthew A. Blackwood
                                                   Matthew A. Blackwoood
                                                   Assistant United States Attorney




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